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              UNITED STATES DISTRICT COURT
                                    District of Kansas
UNITED STATES OF AMERICA,
                  Plaintiff,

                  v.                                         Case No.      19-40091-01-DDC

JARRETT WILLIAM SMITH,
                 Defendant.


                  GOVERNMENT’S RESPONSE TO DEFENDANT’S
                        SENTENCING MEMORANDUM
                                (Doc. 28)



         The United States of America, by and through Anthony W. Mattivi, Assistant

United States Attorney for the District of Kansas, hereby responds to the defendant’s

Sentencing Memorandum (Doc. 28).            The government urges the Court to reject the

defendant’s request for imposition of a decreased sentence and to instead sentence the

defendant consistently with the recommendations in the Presentence Investigation Report

(PSR).

         I.       Introduction

         The defendant correctly points out the law related to sentencing.       He is correct

that the Court must consider the United States Sentencing Guidelines, along with other

sentencing goals, when sentencing a defendant.         United States v. Booker, 543 U.S. 220,

259 (2005).       He is also correct that the appellate test for review of a sentence is
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“reasonableness.”     Gall v. United States, 552 U.S. 38, 49 (2007).      The disagreement

between the parties – at least for purposes of this pleading – is limited to whether the

defendant’s history of childhood trauma justifies the dramatically reduced sentence he

requests. Although the sentencing guidelines call for a sentence of 30 – 37 months

imprisonment, the defendant requests a sentence barely longer than the Court could

impose for conviction of a misdemeanor.        The government submits such a sentence

would not be reasonable.

       II.    Facts

       The defendant has admitted – not only in his guilty plea, but also in an interview

with FBI agents – that he knowingly and intentionally provided on the internet a recipe

for constructing an explosive device and a recipe for creating improvised napalm, with

the intent that his information be used to commit federal crimes of violence. Specifically,

the defendant admitted to the following:

       The defendant joined the U.S. Army on June 12, 2017. Following his initial entry
       training at Fort Benning, Georgia, the defendant was stationed beginning
       November 27, 2017, at Fort Bliss, Texas. The defendant served the U.S. Army as
       an infantry soldier, trained in combat and tactical operations. He was transferred
       to Fort Riley, Kansas on July 8, 2019.

       On March 27, 2019, the FBI received information regarding the Facebook account
       belonging to the defendant, Jarrett William Smith. The information received by
       the FBI demonstrated that Smith had disseminated guidance to others on how to
       construct Improvised Explosive Devices (IEDs) and spoke to others via social
       media about his desire to travel to the country of Ukraine to fight with a violent,
       far-right paramilitary group.

       On September 20, 2019, from Fort Riley in the District of Kansas, the defendant
       engaged with an FBI Undercover Employee (UCE) on a certain social media
       platform, using the moniker “Anti-Kosmik 2182.” During these online discussions,
       the defendant provided specific instructions for constructing an explosive device
       (Count 1). Later in that same conversation, Smith provided the UCE with a recipe


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       for creating improvised napalm (Count 2). The defendant provided both the
       instructions for the IED and the napalm recipe with the intent that the information
       be used for, and in furtherance of, a federal crime of violence, specifically the
       attempted use of a weapon of mass destruction.

(Doc. 22, Plea Agreement at 1 – 2.)

       In a Mirandized interview just prior to his arrest, the defendant admitted to agents

that he routinely provided information in internet chat rooms on building explosive

devices.      He admitted providing the information even to individuals who told him they

wanted to use the information to harm others.       He said that he did this in order to cause

“chaos,” and that it didn’t matter to him if his information led to the death of someone

else. (Doc. 23, PSR at 12, ¶ 40.)

       The defendant asserts in his sentencing memorandum that he did not have even

“rudimentary knowledge” of explosives, and that the information he provided online was

“often incorrect.” (Doc. 28, Sntg. Memo at 19; Exh. 515.)        To be clear, however, the

government charged the defendant only for information he conveyed that was determined

by an FBI explosives expert to be correct and viable.      Regardless of the amount of

incorrect information the defendant may have conveyed, he nevertheless conveyed at

least two recipes that were determined by FBI bomb technicians to be correct and viable.

It was these recipes that posed a danger, these recipes that formed the basis for the

charges, and these recipes that justified the defendant’s guilty plea.

       III.      The Defendant’s Request for Barely More Than a Misdemeanor
                 Sentence versus the Reasonable Sentence Calculated Under the
                 Guidelines

       The defendant has not been diagnosed with any sort of mental illness.         (Doc.

23,PSR at 17, ¶ 83.)     He found an expert witness to “dissect … [his] communications”

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and comment on the viability of his explosives recipes (Doc. 22, Sntg. Memo. at 19), but

he did not provide the Court with any sort of report or recommendation from a mental

health professional.   Rather, he filled his sentencing memorandum with speculation and

armchair psychology, which he uses as basis to request a sentence barely more than what

he could potentially receive in state court for passing a worthless check (see K.S.A. 21-

5821(b)(3)) or a second conviction for driving on a suspended license (K.S.A. 8-262) or

even running an illegal bingo operation (K.S.A. 21-6405).

       For example, the defendant refers to the “untreated depression [that] continued to

rage” during his enlistment in the Army.     (Doc. 28, Sntg. Memo. at 12.)      But rather

than basing this claim on a methodical and reasoned diagnosis by any of the multitude of

trained mental health professionals available to the defendant in the Army, or even an

expert available to the defendant through the court, he bases this self-diagnosis on a letter

from his mother’s best friend (id. at fn. 35). And when he asserts to the Court that he

was “undoubtedly suffering from undiagnosed and unresolved chronic depression” (id. at

15 – 16), he cites only to a television interview of a “mental health professional” who

clearly did not examine or treat the defendant, but who merely commented for a TV

interview about how bullying “might” have affected the defendant (id. at fn. 50).

Finally, when the defendant speaks of the neuroscientific relationship between the effects

of social isolation and his struggle for belonging (id. at 17 – 18), he bases that scientific

connection not on any examination done by an accredited neuroscientist who actually

examined him, but on the basis of an article from the Washington Post (id. at fn. 56).

       The government submits the sentence provided for by the USPO’s correct


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calculation of the Guidelines here is reasonable under the statutory sentencing factors

enumerated by Congress in 18 U.S.C. § 3553.        Under § 3553, a sentencing court must

ensure that a defendant’s sentence balances several factors. 18 U.S.C. § 3553(a).       The

sentence must account for the nature and circumstances of the offense; the history and

characteristics of the defendant; the kinds of sentences available; the applicable

Guidelines range; the need for unwarranted sentencing disparities among similarly

situated defendants; and the need for restitution to the victims. Id. The sentence imposed

must also “reflect the seriousness of the offense, . . . promote respect for the law, and . . .

provide just punishment for the offense,” as well as “afford adequate deterrence to

criminal conduct,” “protect the public from further crimes of the defendant,” and afford

the defendant necessary educational training, medical care, or other treatment. Id. While

the sentencing court must consider each of these factors, “the court need not rely on every

single factor—no algorithm exists that instructs the district judge how to combine the

factors or what weight to put on each one.” United States v. Barnes, 890 F.3d 910, 916

(10th Cir. 2018). Rather, “sentencing courts can and should ‘engage in a holistic inquiry

of the § 3553(a) factors.’” Id. (quoting United States v. Lente, 759 F.3d 1149, 1174 (10th

Cir. 2014)).

       The government respectfully submits a balancing of the § 3553(a) factors supports

the sentence calculated under the Guidelines.      Although the defendant may have had an

unfortunate childhood, marred by bullying and social rejection, he nevertheless provided

viable recipes online for use by individuals he knew wanted to commit violence and

inflict harm upon others.    The relatively short sentence of three years or less called for


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by the Guidelines meets the requirements of § 3553(a) for reflecting the seriousness of

the offense, promoting respect for the law, providing just punishment for the offense, and

affording adequate deterrence to criminal conduct.

       The government has no reason to doubt the defendant’s assertions that he has a

supportive environment awaiting him upon his release.      But this undoubtedly will be

true whether the defendant is released after one year or three years.

       In short, the defendant has not provided the Court with a reasoned medical basis

for the dramatically reduced sentence he requests.   Indeed, when the Court balances the

several factors set forth in § 3553, the government submits the defendant has failed to

provide a basis sufficient to support a sentence lower than the Guidelines.   See United

States v. Browning, 252 F.3d 1153, (10th Cir. 2001) (noting, in dicta, that a downward

departure due to a “disadvantaged upbringing” is prohibited under the Guidelines unless

the record supports a finding of “exceptionally cruel . . . psychological and emotional

abuse constituting a form of sadistic torture”); cf. United States v. Corchado-Aguirre,

2015 WL 10383207, at *13 (D.N.M. Aug. 31, 2015) (“If the Court were to give

substantially lower sentences to every criminal defendant who, despite having the

requisite mens rea and being competent, suffered from some mental illness . . . a large

portion of law breakers would no longer be punished for breaking the law.”).

       In spite of the defendant’s background, the fact remains that he knowingly and

voluntarily provided information online to individuals who expressed a willingness to

commit violence and even murder.      This warrants significant punishment.    A sentence

of imprisonment for approximately three years is well and soundly justified in this case.


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The government submits that anything less would be inappropriately lenient and would

not be “reasonable” under the circumstances.         Gall, supra, 552 U.S. at 49.

       IV.    Conclusion

       Based on the facts, the government respectfully submits that a sentence of

imprisonment for a term between 30 and 37 months is appropriate, reasonable and just.

It balances the serious nature of the offense against the defendant’s background, and it

satisfies the requirements of the guidelines.       The defendant’s arguments in response to

the PSR should be rejected, and the Court should sentence the defendant consistent with

the recommendations found therein, to a sentence of 30-37 months imprisonment.

                                           Respectfully submitted,

                                           STEPHEN R. McALLISTER
                                           UNITED STATES ATTORNEY

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                            CERTIFICATE OF SERVICE

       I hereby certify that on this 18th day of August, 2020, I electronically filed the
foregoing Response with the Clerk of the Court by using the CM/ECF system which will
send an electronic copy to all counsel of record in the case.


                                         AW Mattivi
                                         Anthony W. Mattivi




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